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                         EXHIBIT E
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REPORT      from



               OFFICE OF THE CITY ADMINISTRATIVE OFFICER


Date:          December 4, 2020                                         CAO File No.        0220-05734-0007
                                                                        Council File No.    20-0841 and 20-0941
                                                                        Council District:   12 and 13
To:            The City Council

From:          Richard H. Llewellyn, Jr., City Administrative Officer

Reference:     COVID-19 Homelessness Roadmap

Subject:       Funding Recommendations for COVID-19 Homelessness Roadmap Projects -
               Fourth Report


SUMMARY

On September 9, 2020, the City Council approved funding for the initial projects under the COVID-
19 Homelessness Roadmap (Roadmap) and directed the City Administrative Officer to submit
funding recommendations for projects as they are ready for funding via reports. This is the fourth
funding report related to the Roadmap. This report includes funding recommendations for two (2)
new interim housing sites with 181 beds.

This report also recommends that the Los Angeles Homeless Services Authority (LAHSA) be
requested to accept $744,150 in private funding directed by the State of California (State) and
provided through the Enterprise Foundation for operating costs for the Nest, a Project Homekey
site in Council District 13. This grant reduces operating funding provided directly from the State by
the same amount.

Lastly, recommendations are included to clarify previously approved funding actions related to the
Project Homekey Program (C.F. 20-0941), including: authorizing the Housing and Community
Investment Department to amend the Roadmap contract with the LAHSA for operating funding from
the State of California for Project Homekey sites; and requesting LAHSA to execute subcontracts
with the identified service providers.

RECOMMENDATIONS

That the City Council, subject to approval by the Mayor:

      1. DETERMINE that the following two (2) projects are statutorily exempt from the California
         Environmental Quality Act (CEQA) under Public Resources Code Section 21080(b)(4) as a
         specific action necessary to prevent or mitigate an emergency as also reflected in CEQA
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   Guideline Section 15269(c) as set forth by the Notices of Exemption attached to this Council
   file:
         a. 18140 Parthenia St., Council District 12, which allows for financial assistance for
            interior and exterior tenant improvements; and service funding for operations of a new
            homeless shelter with a maximum of 07 interim housing beds; and
         b. 1455 N. Alvarado St., Council District 13, which allows for the construction and
            operation of a new homeless tiny home village with a maximum of 85 interim housing
            beds;

2. APPROVE up to $11,716,190 in Homeless Housing, Assistance, and Prevention Program
   (HHAP) funds ($11,276,190) and COVID-19 Federal Relief Fund ($440,000) for the
   construction of the following two (2) interim housing facilities as part of the COVID-19
   Homelessness Roadmap (Roadmap):


      CD    Site                                        Number of Beds             Amount

     12     18140 Parthenia Blvd.                               107                 $6,021,190

     13     1455 Alvarado St.                                   74                  $5,695,000


      a. APPROPRIATE up to $6,021,190 from the HHAP Grant Special Fund No. 62Y,
         Account No. 10S650, HHAP Category 1 - A Bridge Home Capital to the Fund No.
         62Y, Department No. 10, account number to be determined, for construction costs to
         establish an interim housing facility at 18140 Parthenia Blvd., in Council District 12,
         pending purchase of the site by Hope of the Valley Rescue Mission; and
      b. APPROPRIATE up to $5,695,000 for construction costs to establish an interim
         housing facility at 1455 Alvarado St., in Council District 13, pending the execution of
         a lease agreement between the owner of the site and Department of General
         Services as follows:
           i.   Up to $5,255,000 from the HHAP Special Fund Grant Fund No. 62Y, Account
                No. 10S650, HHAP Category 1 - A Bridge Home Capital to the Fund No. 62Y,
                Department No. 10, account number to be determined; and
                Up to $440,000 from the COVID-19 Federal Relief Fund No. 63M, Department
                10, Account No. 10T695 to the COVID-19 Federal Relief Fund No. 63M,
                Department No. 10, account number to be determined, to be used to purchase
                tiny homes and hygiene and administration trailers before the December 30,
                2020 expenditure deadline for these funds;

3. AUTHORIZE the City Administrative Officer to negotiate and execute a contract with Hope
   of the Valley Rescue Mission, or designee, for construction costs to establish an interim
   housing facility at 18140 Parthenia Blvd.;
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4. AUTHORIZE the Department of General Services to negotiate and execute a lease
   agreement with the property owner of 1455 Alvarado Blvd. to establish an interim housing
   facility at this site, for a minimum term of 39 months and a maximum term of five (5) years;

5. APPROVE the reprogramming of up to $5,355,474 from HHAP Category 3 - Prevention,
   Shelter Diversion to Permanent Housing and Bridge Home Housing Operations ($586,976),
   HHAP Category 4 - Rental Assistance and Rapid Rehousing and Permanent Housing
   ($1,144,027), and HHAP Category 5 - Street Strategy, Outreach, Public Health, and
   Hygiene ($3,624,471) to HHAP Category 1 - A Bridge Home Capital, to cover construction
   costs for Roadmap projects as follows:
      a. Appropriate up to $586,976 from HHAP Special Fund Grant Fund No. 62Y, Account
          No. 10S652 to HHAP Special Fund Grant Fund No. 62Y, Account No. 10S650;
      b. Appropriate up to $1,144,027 from HHAP Special Fund Grant Fund No. 62Y, Account
          No. 10S653 to HHAP Special Fund Grant Fund No. 62Y, Account No. 10S650; and
      c. Appropriate up to $3,624,471 from HHAP Special Fund Grant Fund No. 62Y, Account
          No. 10S654 to HHAP Special Fund Grant Fund No. 62Y, Account No. 10S650.

6. APPROVE and APPROPRIATE up to $5,746,534 from the HHAP Special Fund Grant Fund
   No. 62Y, Account No. 10S650, hHaP Category 1 - A Bridge Home Capital to the Fund No.
   62Y, Department No. 10, account numbers to be determined, for previously approved
   Roadmap projects to add funding to reflect actual costs based on contractor bid amounts as
   follows:

                                                       Number of              Amount
           CD   Site
                                                         Beds

           3    6700 Vanalden Ave.                        101                       $ 1,570,028

           3    6073 Reseda Blvd                          148                       $ 2,979,860

           15   1221 Figueroa Pl.                          75                       $ 1,196,646

                Total                                     399                          $5,746,534



7. APPROVE and APPROPRIATE up to $1,041,755 from the Homelessness Efforts - County
   Funding Agreement Fund No. 63Q, Department No. 10, Account No. 10T618 to Fund No.
   63Q, Department No. 43, account numbers to be determined, for the cost of operations,
   including services, through June 30, 2021 and for furniture, fixtures, and equipment as
   described below:
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                                                  Operating    Furniture,
                               No.                  Costs       Fixtures,
                               of    Estimated     through         and                     Service
     CD   Site                Beds   Start Date   6/30/2021    Equipment       Total       Provider


          18140 Parthenia                                                                 Hope of the
     12   Blvd.               107    4/1/2021      $529,650      $293,305     $822,955    Valley

                                                                                          To be
     13   1455 Alvarado St.    74    5/21/2021     $162,800        $56,000    $218,800    determined

          Total               181                  $692,450      $349,305    $1,041,755


8. REQUEST the Los Angeles Homeless Services Authority to:
     a. Execute a contract with Hope of the Valley Rescue Mission for furniture, fixtures, and
        equipment, and operating costs through June 30, 2021 at 18140 Parthenia Blvd.; and
     b. Work with Council District 13 to identify a service provider for the tiny home site at
        1455 Alvarado and execute a contract for furniture, fixtures, and equipment, and
        operating costs through June 30, 2021 at this site;

9. REQUEST the Los Angeles Homeless Services Authority to accept private funds directed
   by the State of California and provided through the Enterprise Foundation in the amount of
   $744,150 and include these funds in the services contract with Volunteers of America Los
   Angeles for Project Homekey operating costs at the Nest;

10. REDUCE previously approved funding from the State of California for Project Homekey
   operating costs in the amount of $744,150, from $8,655,000 to $7,910,850;

11. INSTRUCT the General Manager, Housing and Community Investment Department, or
   designee, to amend the Roadmap contract (C-137223) with the Los Angeles Homeless
   Services Authority to:
      a. Reflect the funding allocations in this report for 18140 Parthenia Blvd. and 1455
         Alvarado St.; and
      b. Add funding from the State of California for services at Project Homekey Sites in the
          amount of $7,910,850, for the term of November 1,2020 - June 30, 2021.

12.REQUEST that Los Angeles Homeless Services Authority execute or amend sole source
   subcontracts with the Project Homekey service providers as described in the City
   Administrative Officer report relative to Award Recommendations on the Request for
   Proposals to Select Owner/Operators for City Project Homekey Sites, dated November 4,
   2020 (C.F. 20-0941); and
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   13.AUTHORIZE the City Administrative Officer to:
        a. Prepare Controller instructions or make necessary technical adjustments, including
           to the names of the Special Fund accounts recommended for this report, consistent
           with the Mayor and Council action in this matter, and authorize the Controller to
           implement these instructions; and
        b. Prepare any additional Controller instructions to reimburse City Departments for their
           accrued labor, material or permit costs related to projects in this report consistent with
           the Mayor and Council action on this matter and authorize the Controller to implement
           these instructions.

DISCUSSION

CITY’S COMMITMENT TO THE HOMELESSNESS ROADMAP

The City of Los Angeles (City) reached an agreement with the County of Los Angeles (County) on
June 16, 2020, to develop an additional 6,700 homeless interventions in the City COVID-19
Homelessness Roadmap (Roadmap) to address the COVID-19 emergency within 18 months. This
agreement establishes the following milestones:
          • 700 beds in existing agreements with the County within 10 months;
          • 5,300 new beds within 10 months; and
          • 700 new beds within 18 months.

6,000 of these beds must be new beds, which are not included in any existing agreements between
the City and the County. The County has committed to providing $60 million in services per year
over five (5) years for a total of $300 million or half of the estimated $600 million cost for these beds
over the five (5) year term of the agreement. The target population for this effort includes:

           •   People experiencing homelessness and living in the City within 500 feet of freeway
               overpasses, underpasses, and ramps;
           •   People experiencing homelessness within the City who are 65 years of age or older;
               and
           •   Other vulnerable people experiencing homelessness within the City of Los Angeles.

Attachment 1 summarizes approved interventions that are completed and in process by Council
District according to the milestones established in the agreement with the County. The target
number of beds for each Council District for the number of people experiencing homelessness
within 500 feet of freeway overpasses, underpasses, and ramps is based on the Los Angeles
Homeless Services Authority’s (LAHSA’s) 2019 Point in Time Count data. To date, 7,549 total
interventions have been approved. Of these interventions, 1,329 are completed, 3,220 are in
progress, and 3,000 are rapid rehousing/shared housing interventions being implemented by
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LAHSA. Future reports will provide target and actual               placement     numbers   for    rapid
rehousing/shared housing placements by Council District.

FUNDING RECOMMENDATIONS

Construction Funds for Interim Housing Sites
In the Third Homelessness Roadmap Funding Report, dated November 13, 2020, $11,667,250
was reprogrammed and allocated in State of California Homeless, Housing, Assistance, and
Prevention (HHAP) Program Funding Category 1 - A Bridge Home Capital for construction costs
for pending Roadmap sites. This report recommends approval of two (2) new Roadmap sites at
18140 Parthenia Blvd., in Council District (CD) 12, and 1455 Alvarado St., in CD 13, and up to
$11,716,190 for construction costs to establish interim housing facilities on these sites.
$11,276,190 of this amount is recommended in HHAP funding. The remaining $440,000 is
recommended from the Coronavirus Relief Fund (CRF) to purchase tiny homes and trailers for
hygiene facilities and administrative offices for the 1455 Alvarado St. site prior to the December 30,
2020 CRF expenditure deadline.

Hope of the Valley Rescue Mission (HOTVRM) plans to purchase and operate the site at 18140
Parthenia Blvd. in CD 12 for interim housing. The City will fund the necessary improvements.
Brilliant Corners, under contract with the City Administrative Office (CAO), assessed the site and
prepared a site plan and a rough order of magnitude estimate to establish 107 beds for adults on
this site. The recommended funding based on this estimate is $6,021,190. HOTVRM intends to use
the site as a permanent, not a temporary, interim housing facility.

The proposed interim housing site at 1455 Alvarado St., in CD 13, is a private property and would
be the seventh tiny home village approved for funding. To determine the site’s feasibility, the
Bureau of Engineering (BOE) surveyed the site, assessed utility and sewer accessibility, and
prepared site plans and a rough order of magnitude estimate to establish 74 beds for adults on this
site. The recommended funding based on this estimate is $5,695,000. This report also
recommends that the Department of General Services be instructed to negotiate a lease with the
property owner for a term of a minimum of 39 months and a maximum of five years.

BOE has conducted a California Environmental Quality Act (CEQA) analysis for these sites and
transmitted this analysis under separate cover. The Mayor and City Council must approve BOE’s
determination that this use is categorically exempt from CEQA.

In previous funding reports, $12,008,735 was approved based on BOE’s rough order of magnitude
estimates for construction costs of the three (3) tiny home sites at 6700 Vanalden Ave., 6073
Reseda Blvd., and 1221 Figueroa Pl. BOE has completed the bid process for two (2) of these sites
and final bids are higher than the approved funding. BOE has also updated the estimate for the
third site using projections based on actual costs of the other Roadmap tiny home sites. As such,
additional HHAP funding in the amount of $5,746,534 is needed for these three (3) sites.
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Services and Operating Costs for Interim Housing Sites
The estimated service start dates for the new interim housing sites at 18140 Parthenia Blvd. and
1455 Alvarado St. are April 1,2021 and May 21,2021, respectively. This report recommends funds
in the amount of $1,041,755 for furniture, fixtures, and equipment and operating costs through June
30, 2021 for these two (2) new interim housing sites. This funding is recommended from the
Homelessness Efforts - County Funding Agreement fund.

Other Recommendations

Additional recommendations are included in this report to request that the Los Angeles Homeless
Services Authority (LAHSA) accept $744,150 in private funding directed by the State of California
(State) and provided through the Enterprise Foundation for Project Homekey operating costs for
the Nest. The State solicited private funding for Project Homekey Program operating costs and is
directing these funds to support the Nest. As a result, the total State Project Homekey operating
funding for City sites is reduced from $8,655,000 to $7,910,850. LAHSA will include these private
funds in the service contract with Volunteers of America of Los Angeles, the approved
owner/operator for the Nest.

Lastly, this report includes recommendations to authorize the Housing and Community Investment
Department to execute an amendment to the Roadmap contract with LAHSA to include the
operating funding from the State of California for Project Homekey sites in the updated amount of
$7,910,850. On November 18, 2020, the Mayor and City Council authorized the CaO to accept the
Project Homekey State of California funds from the Housing Authority of the City of Los Angeles
(C.F. 20-0941). Approval of the recommendations in this report is needed to allow these funds to
be transferred to LAHSA for service provider contracts. Once transferred, this report requests
LAHSA to execute or amend subcontracts with the selected service providers.

FUNDING STATUS

Attachment 2 outlines the funding status of the four (4) main funding sources approved for the
Roadmap in Fiscal Year (FY) 2020-2021, assuming approval of the recommendations in this report.
The main sources of funding include, CRF, HHAP, ESG-COVID, and the County Service
Commitment. A total of $53 million is anticipated from the County in this FY. On September 1,2020,
the City received the first allocation of $17.66 million.

FISCAL IMPACT

There is no impact to the General Fund as a result of the recommendations in this report at this
time. All of the recommendations in this report will be funded with federal, state, and hHaP funds,
and the County of Los Angeles service funding commitment in FY 2020-21. In FY 2021-22, an
estimated $30,140,989 will be needed for the City share of operating costs for approved Roadmap
homeless interventions. Funding for these costs will be considered through the City’s annual budget
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process, which is subject to Mayor and Council approval.

FINANCIAL POLICIES STATEMENT

The recommendations in this report comply with the City Financial Policies.

Attachments
1. COVID-19 Homelessness Roadmap Tracker - Homeless Interventions in Approved Projects
2. COVID-19 Homelessness Roadmap Fiscal Year 2020-21 Funding Status


RHL:YC:MTB:A MW: 1620033
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Attachment 1



COVID-19 Homelessness Roadmap Tracker: Homeless Interventions in Approved Projects (1)
                                               Existing 700 Beds                                              New Interventions for 5300 Beds                                                                                   New Interventions for 700 Beds
               Council District Plans
Council                                        (2) by 4/16/2021                                               ________ by 4/16/2021_________                                                                                    _______ by 12/16/2021_______                                             Total
District                                                                  RRH/Shared (3)         Interim Housing (4)      Project Homekey (5)         Safe Parking          Permanent Housing          RRH/Shared (3)           Interim Housing           Safe Parking          Permanent Housing
             Target   Completed   In Process   Completed   In Process   Completed   In Process   Completed   In Process   Completed   In Process   Completed   In Process   Completed   In Process   Completed   In Process   Completed   In Process   Completed   In Process   Completed   In Process

    i        430          0         184           0            0                                    0            0           0           91           0            0           0           93                                    0            0           0            0           0            0        184
    2        203         268        425           0            0                                   185         425           0            0           0            0           83           0                                    0            0           0            0           0            0        693
    3         14          0         481           0           80                                    0          249           0           127          0           25           0            0                                    0            0           0            0           0            0        481
    4         46         148        191           48         178                                   100           0           0            0           0           13           0            0                                    0            0           0            0           0            0        339
    5         94         102         30           0            0                                    54           0           0            0           0           30           48           0                                    0            0           0            0           0            0        132
    6         125        70         220           0            0                                    70           0           0           110          0            0           0            0                                    0            0           0            0           0          110        290
    7         134        85          57           85          57                                    0            0           0            0           0            0           0            0                                    0            0           0            0           0            0        142
    8         84          0          64           0           33                                    0            0           0           31           0            0           0            0                                    0            0           0            0           0            0         64
    9        482         80         337           50          63                                    0           30           0            0           30          10           0          234                                    0            0           0            0           0            0        417
   10         77         118        110           0            0                                    15          70           0           23           0            0          103           0                                    0            0           0            0           0           17        228
   11         92          0         80            0            0                                    0            0           0            0           0           30           0            0                                    0            0           0            0           0           50        80
   12         17          0         203           0            0                                    0          107           0           76           0           20           0            0                                    0            0           0            0           0            0        203
   13        468         23         165           0            0                                    0          104           0           41           0           20           23           0                                    0            0           0            0           0            0        188
   14        622         100        336           0           55                                   100         232           0           49           0            0           0            0                                    0            0           0            0           0            0        436
   15         194        335        337           62           0                                   138          75           0           40           0           50          135           0                                    0            0           0            0           0          172        672

 Total      3,082       1,329      3,220
                                                 245         466           0         2,252         662        1,292          0           588          30         198          392         327           0          748           0            0           0            0           0          349
                                                                                                                                                                                                                                                                                                         7,549
                                                       711                                                                       5,741                                                                                                            1,097

(1) Approved Projects: Beds in projects with approved funding or pending funding approval.
(2) The 700 beds in existing agreements with the County of Los Angeles.
(3) RRH (Rapid Rehousingj/Shared Housing will be updated as Council District targets are set and placements are reported.
(4) Includes the 762 A Bridge Home (ABH) beds, not in existing agreements with the County of Los Angeles, that were in development and scheduled for completion after June 16, 2020 Binding Term Sheet.
(5) Project Homekey sites are pending final purchase and approval of recommended Owner/Operators. Does not include Housing Authority of the City of Los Angeles (HACLA) sites that will open as supportive housing with services provided by the County of Los Angeles (County)
under the Proposition HHH Memorandum of Understanding between the City, HACLA, and the County.




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 Attachment 2


COVID-19 Homelessness Roadmap Fiscal Year 2020-21 Funding Status
                                                                                                                                                                                                                                                                                                      County Service
                                                                 HEAP/                                                                                                                                                                                                                                Recommended
                                                  Units           HHAP                                                                                                                                                                                                                                  Allocations  County Service
                                                               Allocated/           CRF              CRF              CRF                 CRF              ESG-COVID        ESG-COVID            ESG-COVID       ESG-COVID          CDBG-COVID         CDBG-COVID      CDBG-COVID     CDBG-COVID       ($300M for 5  Recommended County Service County Service
Type of Unit/Intervention                                      Committed        Allocations       Commitments      Uncommitted       Expenditures          Allocations     Commitments           Uncommitted     Expenditures           Allocations    Commitments     Uncommitted    Expenditures         years)     Commitments   Uncommitted  Expenditures
New Interim Housing Beds                                                                                                                                                                     ■
- ABH Beds                         Capital         762           $34,201,320
                                 Operating                       $19,721,755
- Other Interim Beds               Capital        1,012          $38,765,898       $47,400,000       $27,013,735      $20,386,265        $2,459,066                                                                                 $      8,000,000      $8,000,000             $0
(Including Pallet Shelters)**    Operating                                                                                                             $     20,237,195        $20,237,195                  $0              $0                                                                            $7,556,943     $7,556,943           $0            $0
New permanent housing units/not included
in existing County Contracts
Homekey Units**                    Match           750                           $150,000,000        $62,000,000      $88,000,000       $22,397,521
                                 Operating                                                                                                                   $22,000,000       $18,259,029          $3,740,971              $0
                                Rehabilitation                                                                                                               $30,000,000        $3,007,668         $26,992,332              $0
Rapid Rehousing/ Shared Housing*                  3,000                                                                                                      $97,165,429       $30,000,000         $67,165,429              $0
Measure H Strategy****                                                                                                                                        $1,136,000         $426,000            $710,000                             $2,602,964      $2,602,964             $0              $0
Leased Facilities**               Leasing                                                                                                                     $3,951,600               $0           $3,951,600              $0
                                                   600
                                 Operating
Safe Parking*                                      513                                                                                                                                                                                                                                                    $1,033,417     $1,033,417           $0            $0
Housing Units in Existing County
                                                   700
Contracts
Outreach                                                                                                                                                      $2,449,650        $2,449,650                  $0                  0
Administration                                                                      $2,500,000
                                                                                        (BOE)
                                                                                     $100,000
                                                                                          (GSD)       $2,600,000                $0         $890,799    $      6,658,937    $    6,658,937                   $0              $0
TOTAL                                             8,245          $92,688,973     $200,000,000        $91,613,735     $108,386,265       $25,747,387         $183,598,811       $81,038,479        $102,560,332              $0           $10,602,964     $10,602,964             $0              $0      $53,000,000     $8,590,360   $44)409,640           $0
* Funded by the Federal and State Sources
** Operating Costs: ABH Beds: $60/bed/night; Shelters, Leased Facilities: $55/bed/night; Safe Parking: $30/car/night, based on average operating time of eight months operations for Other interim Beds, Acquired Units, Leased Facilities, and Safe Parking in FY 2020-21.
*** Reflects the entire cost of the program for four (4) years using ESG-COVID.
****Placements liinded with City funding for Measure H Strategies will be counted toward the Roadmap target of 6,700 interventions.




                                                                                                                                                                                   1 of 1                                                                                                                                                           12/3/2020
